           Case 19-00149-SMT                         Doc 3     Filed 03/12/19 Entered 03/12/19 21:38:12                           Desc Main
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                                                            LOCAL OFFICIAL FORM NO. 10
                                              IN THE UNITED STATES BANKRUPTCY COURT
                                                   FOR THE DISTRICT OF COLUMBIA
 In re                                                                                           )
 Stephenson, Thomas K.                                                                           )      Case No.       19-00149
                                                                                                 )
                                                                                                 )           Chapter   11
                                                                  Debtor(s).                     )

                                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

            Flat Fee
             For legal services, I have agreed to accept                                                     $              15,000.00
             Prior to the filing of this statement I have received                                           $               5,000.00
             Balance Due                                                                                     $              10,000.00

        Hourly Fee
             For legal services, I have agreed to accept and received a retainer of                          $
             The undersigned shall bill against the retainer at an hourly rate of                   $
             [Or attach firm hourly rate schedule.] as such rate may change over time based on
             periodic increases.
             Debtor has agreed to pay all approved fees and expenses exceeding the amount of the retainer, subject to those fees and expenses being
             approved by the court (when court approval is required) for work performed in a chapter 11 case or chapter 13 case. Payments of fees
             and expenses exceeding the retainer, other than payment of amounts approved for payment by court order, will be disclosed by a
             supplemental Rule 2016(b) statement.

        Pro Bono Representation

 I have agreed to provide services without compensation




                               *****************************************************************************
                              The debtor               has         has not agreed to reimburse expenses.




2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

3.     With respect to the compensation described herein:

        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.


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        I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                    CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 12, 2019                                                         /s/ Charles M. Maynard
     Date                                                                   Charles M. Maynard
                                                                            Signature of Attorney
                                                                            Law Office of Charles M. Maynard

                                                                            401 E Jefferson St Ste 208
                                                                            Rockville, MD 20850-2613

                                                                            cmaynard@maynardlawgroup.com
                                                                            Name of law firm




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